                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MISSOURI

SHANE COOK,                                     )
and,                                            )      JURY TRIAL DEMANDED
KARLA CARO                                      )
                                                )
      Plaintiffs,                               )
                                                )      Case: 4:21-cv-930
v.                                              )
                                                )
FAMILY MOTORS, LLC,                             )
                                                )
and                                             )
                                                )
DERRICK RICHARDSON,                             )
                                                )
and                                             )
                                                )
ANTONIO HARBIN,                                 )
                                                )
and                                             )
                                                )
                                                )
BRENDA YOAKUM-KRIZ,                             )
                                                )
      Defendants.                               )

                                     COMPLAINT

      Plaintiffs, Shane Cook and Karla Caro (collectively “Plaintiffs”), by and through

undersigned counsel, and for their Complaint state as follows:

                                   INTRODUCTION

      1.      This is an action for actual damages, punitive damages, costs and attorneys’

fees for violations of K.S.A. 50-623, et seq. (“KCPA”), which prohibits suppliers from

engaging in abusive, deceptive, dishonest and unfair practices against consumers.




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       2.      This is also an action for actual and punitive damages brought by individual

consumers for abuse of process.

       3.      The Defendants listed below, filed a malicious and abusive counterclaim

against Plaintiffs in a state court action where Plaintiffs were seeking to vindicate their

rights to be free from abusive, deceptive, dishonest and unfair practices. Defendants

know that the counterclaim lacks legal merit and lacks factual support. Defendants used

and are using this frivolous claim to pressure Plaintiffs into waiving their legal rights.

Certain facts related to or forming claims in the state court action are stated herein;

however, they are stated as necessary predicates and foundation for Plaintiffs’ claims

here, not restating those claims as separate grounds for relief in this action.

       4.      Plaintiffs do not seek injunctive relief or interference with the ongoing state

court litigation. Missouri permits ancillary proceedings alleging litigation misconduct as

a violation of consumer protection laws, just as Plaintiffs do here. See e.g. Jackson v.

Barton, 548 S.W.3d 263 (M0. 2018).

       5.      Missouri further permits some proceedings against an attorney and the

client in limited circumstances, notably where consumer protection is at issue. see

Jackson v. Barton, 548 S.W.3d 263 (Mo. 2018).

       6.      This action further argues that the conduct complained of violates 18

U.S.C. § 1343 and/or 18 U.S. Code § 1951 and is therefore per se unfair, unconscionable

and fraudulent within the meaning of the KCPA but does not allege that these federal

statutes create a private right of action in and of themselves.



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                                      JURISDICTION

       7.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because it

involves a question of federal law and supplemental jurisdiction over the state law issues

pursuant to 28 U.S.C. § 1367.

       8.      Venue is appropriate in this court because Defendant directed their illicit

conduct at Plaintiffs from Jackson County, Missouri.

       9.      Plaintiffs demand a jury trial for all issues so triable.

                                          PARTIES

       10.     Plaintiff, Shane Cook (“Cook”), is a natural person and was a resident of

the state of Kansas at the time of the events alleged below.

       11.     Plaintiff, Karla Caro (“Caro”), is a natural person and was a resident of the

state of Kansas at the time of the events alleged below.

       12.     Defendant, Family Motors, LLC (“the Dealership”) is a Missouri limited

liability company, who publicly lists its registered agent as Derrick Richardson of 9009

Manning Ave, Kansas City, MO 64138 and has a business office located at: 8753 E. US

40 Highway, Unit B, Kansas City, MO 64129

       13.     The Dealership is engaged in the trade or commerce of selling vehicles to

the public.

       14.     The Dealership is a statutory entity, and all acts of the Dealership alleged

below were committed by an employee, agent and/or apparent agent of the Dealership.




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        15.   Defendant, Derrick Richardson (“Richardson”) is a natural person and a

member of the Dealership, believed to be a resident of Missouri, whose address is

publicly listed as 9009 Manning Ave, Kansas City, MO 64138.

        16.   Defendant, Antonio Harbin (“Harbin”) is a natural person and a member of

the Dealership, believed to be a resident of Missouri, whose address is currently unknown

to Plaintiffs but is known to other defendants.

        17.   Defendant Brenda Yoakum-Kriz (“Ms. Yoakum-Kriz”) is an employee

Empower Law Firm, LLC and can be served at her publicly listed place of employment at

173 English Landing Dr., Suite 230 Parkville, MO 64152.

                        FACTS COMMON TO ALL COUNTS

        18.   Plaintiffs incorporate all preceding paragraphs here by reference.

The Transaction That Started the Ball Rolling

        19.   Some time prior to December 19, 2020, the Dealership created an online

advertisement that stated that the Dealership had a certain Pontiac G6 (the “Vehicle”) for

sale.

        20.   The Dealership intended and/or knew that by placing an advertisement

online, that such advertisement would be directed at consumers in Kansas.

        21.   On or about December 19, 2020, Plaintiffs saw the Dealership’s online

advertisement from the state of Kansas and contacted the Dealership from Kansas to

discuss a possible purchase.

        22.   Plaintiffs arranged to come to the state of Missouri to look at the Vehicle.



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       23.      When Plaintiffs arrived in Missouri, the Dealership provided Plaintiffs with

what the Dealership alleged was a Missouri safety inspection report (the “Report”).

       24.      The Report stated that a safety inspection had been conducted on December

1, 2020 by H+H Motors Group of Kansas City, MO.

       25.      The Report identified no defects on the Vehicle.

       26.      Plaintiffs ultimately agreed to purchase the Vehicle for $1,150.00.

       27.      Shortly after purchasing the Vehicle, the Vehicle began having significant

problems on the road, leading Caro to pull over, experiencing physical symptoms of a

panic attack.

       28.      The Dealership eventually towed the Vehicle to Defendant’s location and

claims to have performed some repairs on the Vehicle.

Plaintiffs Hire an Attorney

       29.      Plaintiffs contacted the undersigned attorney, who noted that the front

windshield of the Vehicle had a crack in it that was longer than 3 inches.

       30.      Pursuant to 11 CSR 50-2.270(5)(D), the Vehicle should not have passed a

safety inspection due to the crack in the windshield.

       31.      Most consumers, especially those from states other than Missouri, would

not know the specific requirements to pass a Missouri Safety Inspection.

       32.      Following this initial assessment, Plaintiffs’ attorney offered to settle the

matter for a refund of Plaintiffs’ money plus a small amount for attorneys’ fees (the “First

Settlement Demand”).

       33.      The Dealership rejected Plaintiffs’ offer of settlement.

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Plaintiffs’ Attorney Has to Investigate After The Dealership Refuses to Settle Early

       34.    With early resolution off the table, Plaintiffs’ attorney began his

investigation in more detail and discovered that H+H Motors Group denied that any

safety inspection had been done by H+H Motors Group on the Vehicle.

       35.    Plaintiffs determined that the Report is a forged document that was created

by the Dealership.

       36.    Plaintiffs determined that no safety inspection was conducted.

       37.    On or about January7, 2021, Plaintiffs’ attorney sent the Dealership a letter

demanding $5,000.00. based on the investigation, legal review and change in the legal

theory and increased potential award. (the “Second Settlement Demand”)

       38.    $5,000.00 is less than other experienced, competent attorneys demand for

consumer law cases that involve less investigation, less legal work and lower actual

damages. See e.g. Weaver v. Performant Recovery, Inc., No. 2:13-cv-2408-JTM, 2014

U.S. Dist. LEXIS 137134, at *2 (D. Kan. Sep. 29, 2014).

       39.    $5,000.00 was a reasonable demand made in a good faith effort to resolve

Plaintiffs’ claims.

       40.    On or about January 13, 2021, the Dealership denied the factual allegations

and declined Plaintiffs’ offer to settle in a letter signed by Jason Higgs (the “Higgs’

Letter”). A true and accurate copy of which is attached as Exhibit A.

       41.    In the Higgs Letter, the Dealership accused Plaintiffs of trying to “catch

unsuspecting people or businesses and take advantage of them,” despite (a) having no



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evidence to support this accusation and (b) this not stating how this vague accusation

could give rise to a legal claim against Plaintiffs.

       42.     The Dealership has no evidence to support a claim that trying to “catch

unsuspecting people or businesses and take advantage of them” is a common practice for

either of Plaintiffs.

       43.     The Dealership is not seeking evidence to prove this trying to “catch

unsuspecting people or businesses and take advantage of them” is a common practice for

either of Plaintiffs.

The Dealership Threatens to Use Litigation to Blackmail Plaintiffs

       44.     Nevertheless, the Higgs Letter stated: “Certainly you know that any law

suit filed against me will trigger a counter-suit wherein, I will make all available counter

claims, particularly if I find that this is a common practice for Mr. Cook.”[sic]

       45.     The Higgs Letter never identifies any specific claim, facts to support a

claim or a citation to law from which a legal claim against Plaintiffs could be identified.

       46.     Since the Higgs Letter does not identify any claims that could be raised, the

Dealership was clearly threatening to use litigation as retaliation if Plaintiffs sought to

vindicate their claim in court.

       47.     The Dealership clearly intended Higgs Letter to intimidate Plaintiffs and

frighten them so that they abandoned their rights.

       48.     Plaintiffs determined that the Dealership did not intend to engage in good

faith negotiations or resolve Plaintiffs claims outside of court.

Plaintiffs File Suit Despite the Dealership’s Threats

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       49.    On or about March 25, 2021, Plaintiffs filed a petition in the Circuit Court

of Jackson County, Missouri: 2116-CV07101 - Shane Cook et al v Family Motors, LLC

(the “State Court Case”). This case is still pending.

       50.    The Dealership failed to timely file an answer in the State Court Case.

       51.    On or about August 12, 2021, approximately five months after filing suit

and approximately three months after the Dealership’s Answer was due, Plaintiffs filed a

motion for default judgment in the State Court Case.

       52.    On or about August 31, 2021, Plaintiffs appeared in person and by counsel

before the circuit court of Missouri for a hearing of their motion for default judgment.

       53.    At the August 31, 2021 hearing, Defendants Richardson and Harbin

appeared and purported to represent the Dealership, despite not being licensed to practice

law in the State of Missouri.

       54.    The Dealership later retained the services of Defendant Brenda Yoakum-

Kriz, who filed an entry of appearance on or about September 29, 2021.

Defendants Keep their Word and File a Malicious and Abusive Counterclaim

       55.    On or about October 4, 2021, Defendant Ms. Yoakum-Kriz filed a motion

in the State Court Case, seeking leave for the Dealership to file an answer and counter-

claim alleging Plaintiffs owed “storage fees” of $35.00 per day starting January 13, 2021

and continuing to accrue.

       56.    At the time of filing, Ms. Yoakum-Kriz was seeking (and was ultimately

permitted) to file a claim against Plaintiffs for over $9,240.00.

       57.    At no time did the Dealership ask Plaintiffs to agree to storage fees.

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       58.    At no time did the Dealership tell Plaintiffs that the Dealership intended to

charge storage fees.

       59.    At no time did Plaintiffs see a sign or notice at or near the Dealership

stating either that storage fees would be charged or stating a rate for storage fees.

       60.    The Higgs Letter does not mention storage fees, demand payment for

storage or even suggest that the Dealership has a claim to fees for storage.

       61.    At no time prior to October 4, 2021 did any Defendant demand payment

from Plaintiffs for storage fees.

       62.    Defendants entire prior course of dealings, conduct and communication to

Plaintiffs is inconsistent with a claim against Plaintiffs for “storage fees.”

Defendants’ Real Motive

       63.    On or about October 4, 2021 – and before Defendants filed the

counterclaim—Plaintiffs made a good faith effort to reach settlement by sending

Defendant a demand for $11,000.00.

       64.    Between the Second Settlement Demand and Third Settlement Demand,

Plaintiffs damages from being without a vehicle had continued to accrue, and Plaintiffs’

counsel reasonably expended more hours providing legal services to Plaintiffs.

       65.    On or about October 21, 2021 a judgment in another case against the

Dealership for $10,300.00 in damages and for attorneys’ fees of $4,844.14, for a total

judgment of $15,144.14 in 2116-CV15348 - Amanda Garwood v Family Motors LLC

(the “Garwood Case”) a true and accurate copy of which is attached hereto as Exhibit B.



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       66.    The plaintiff in the Garwood case raised analogous claims to Plaintiffs, in

that the Garwood Plaintiff sought claims for violations of Missouri’s consumer protection

laws, §407.020 RSMo et seq.

       67.    However, unlike the KCPA, the Missouri Consumer Protection Act, §

407.020 et seq., does not provide for a statutory penalty.

       68.    Plaintiffs’ settlement demand was reasonable as compared to similar

consumer law demands and awards, including the judgment entered against the

Dealership in the Garwood Case.

       69.    On or about October 8, 2021, Ms. Yoakum-Kriz filed a motion for leave to

file out of time, seeking to file a counterclaim for “storage fees” and including

suggestions in support of her motion alleging “Plaintiffs instead have made unreasonable

demands.” (A true and accurate copy of the proposed Answer and Counterclaim is

attached hereto as Exhibit C).

       70.    Defendants were granted leave to file the counterclaim, which Defendants

amended and then refiled. A true and accurate copy of Defendants’ Answer and

Counterclaim filed November 19, 2021 is attached hereto as Exhibit D.

       71.    The amount demanded in Ms. Yoakum-Kriz’ counterclaim cannot be

supported by the facts or law.

       72.    Ms. Yoakum-Kriz’ counterclaim in the State Court Case is calculated to

match and eventually exceed Plaintiffs’ Third Settlement demand.

       73.    Further, on or about October 5, 2021, Ms. Yoakum-Kriz sent Plaintiffs’

counsel an email stating in relevant part about her client/clients, “they are willing to not

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pursue their claim for vehicle storage fees against your clients provided that your clients

dismiss this case with prejudice and remove their vehicle from my client’s premises.” A

true and accurate copy of this email is attached hereto as Exhibit E.

       74.    Ms. Yoakim-Kriz’ counterclaim and statements are an attempt to create an

“off-setting penalty” for Plaintiffs’ good faith settlement demand.

Defendants Know the Counterclaim Lacks Merit and Was Filed for an Improper Purpose

       75.    Ms. Yoakum-Kriz’ counterclaim in the State Court Case was not a claim

raised by the Dealership at any time prior to October 4, 2021.

       76.    On information and belief, Ms. Yoakum-Kriz’ counterclaim in the State

Court Case was thought up by Ms. Yoakum-Kriz and presented to the Dealership after

the Dealership asked her to find a way to force Plaintiffs to abandon their claims. This

fact will likely have direct evidentiary support from emails and/or other written

communications between the defendants that can be obtained in discovery.

       77.    All defendants knew and/or must have known that Ms. Yoakum-Kriz’

counterclaim in the State Court Case lacks legal and factual merit.

       78.    On information and belief, Defendants discussed and formed an agreement

to file Ms. Yoakum-Kriz’ counterclaim in the State Court Case for multiple unauthorized

and inappropriate purposes, including but not limited to:

             a. Retaliate against Plaintiffs for exercising their legal rights; and

             b. Increase the cost of litigation for Plaintiffs; and

             c. Force Plaintiffs to dismiss their claims.



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       79.     All    Defendants      knew     and     intended    that   the   counterclaim      and

communications about the counterclaim would be communicated to Plaintiffs via email

and phone lines, which constitute interstate wire communications.

       80.     All Defendants engaged in a scheme to defraud Plaintiffs by use of

transmissions made over wire communications in interstate commerce when defendants

agreed to use email communications as part of the scheme.

       81.     All defendants used a color of official right to affect the movement of

Plaintiffs’ money and the vehicle at issue here by extortion when defendants used the

color of official right to file a malicious counterclaim for the purpose of denying

Plaintiffs’ their rights.

             COUNT I: PIERCING THE VEIL OF FAMLY MOTORS, LLC

       82.     Plaintiffs incorporate all preceding paragraphs here by reference.

       83.     Defendants Richardson and Harbin are the sole members of the Dealership.

       84.     Defendants Richardson and Harbin have complete control and domination

of the Dealership, including not only finances, but of policy and business practices,

including those alleged above, such that the Dealership has no separate mind, will or

existence of its own, which allegation is specifically limited to the acts related to the

filing and continuation the counterclaim raised in the State Court Case.1

       85.     Defendants Richardson and Harbin used their control of the Dealership to

commit or to compel the Dealership to commit the acts complained of herein, which acts

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  Plaintiffs neither allege nor concede that the Dealership has ever had a separate existence. It is
simply immaterial to Plaintiffs’ cause of action here and so Plaintiffs limit their request to relief
to that necessary to protect their interests in this litigation.
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constitute fraud, dishonest acts, unjust acts, violations of statutory duties and other

positive duties.

        86.        Ms. Yoakum-Kriz repeatedly represented to Plaintiffs’ counsel that the

Dealership lacks the financial resources to consider a significant settlement offer.

        87.        Ms. Yoakum-Kriz repeatedly referenced her “clients,” meaning Defendants

Richardson and Harbin instead of her “client,” indicating that Ms. Yoakum-Kriz also

recognizes that there is no real distinction between the Dealership and Defendants

Richardson and Harbin.

        88.        On information and belief, Defendants Richardson and Harbin failed to

adequately capitalize the Dealership to ensure that the Dealership could afford to finance

its liabilities.

        89.        On information and belief, Defendants Richardson and Harbin’s decisions

and failure to adequately capitalize the Dealership motivated Defendants Richardson and

Harbin to resort to the litigation tactics alleged above, causing Plaintiffs harm.

        90.        The final decision to file a false claim against Plaintiffs in order to pressure

Plaintiffs into dropping their claims was made by Defendants Richardson and Harbin.

        91.        At least for the purposes of this suit, the Dealership lacks a separate

identity, justifying piercing the veil of the Dealership and holding Defendants Richardson

and Harbin jointly and severally liable for the acts of the Dealership.

        WHEREFORE, for the reasons stated above, Plaintiffs pray this Court exercise its

        equitable authority and pierce the veil of the Dealership, finding Defendants



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       Richardson and Harbin jointly and severally liable for the acts of the Dealership,

       and for such other relief as the Court deems just and proper.



             COUNT II: ABUSE OF PROCESS BY ALL DEFENDANTS

       92.    Plaintiffs incorporate all preceding paragraphs here by reference.

       93.    Missouri recognizes claims for abuse of process. Wessler v. Wessler, 610

S.W.2d 650, 652 (Mo. Ct. App. 1980).

       94.    Abuse of process occurs when “(1) the present defendant made an illegal,

improper, perverted use of process, a use neither warranted nor authorized by the process;

(2) the defendant had an improper purpose in exercising such illegal, perverted or

improper use of process; and (3) damage resulted.” Boyer v. Carondelet Sav. & Loan

Asso., 633 S.W.2d 98, 101 (Mo. Ct. App. 1982).

       95.    Filing a claim authorized by law but for an improper purpose such as

extortion is an abuse of process. White v. Scarritt, 111 S.W.2d 18 (1937).

       96.    Filing a claim to increase the cost and burden of litigation is an abuse of

process. Nat'l Motor Club, Inc. v. Noe, 475 S.W.2d 16, 24 (Mo. 1972).

       97.    Defendants filed and/or caused to be filed a counterclaim in the State Court

Case for unauthorized purposes, including but not limited to retaliation against Plaintiffs,

increasing Plaintiffs’ costs of litigation and extorting a dismissal of Plaintiffs’ claims.

       98.    Defendants caused Plaintiffs damages in the form of increased legal costs

in the State Court Case by filing a counterclaim and using the existence of that

counterclaim to attempt to extort a dismissal from Plaintiffs.

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          99.    Plaintiffs’ legal costs in the State Court Case continue to accrue and are

reasonably likely to exceed $75,000.00 as attorneys’ fees in consumer law cases that

proceed to litigation often meet or exceed that amount in Missouri State Courts.

          WHEREFORE, for the reasons stated above, Plaintiffs pray this Court enter a

judgment in their favor for their pecuniary damages in the State Court Case, entered

jointly and severally against the Dealership, Richardson, Harbin, and Ms. Yoakum-Kriz,

and for such other relief as the Court deems just and proper.



 COUNT III: VIOLATIONS OF K.S.A. 50-623, ET SEQ. BY ALL DEFENDANTS

          100.   Plaintiffs incorporate all preceding paragraphs here by reference.

          101.   The Dealership advertised to Plaintiffs through interstate commerce while

Plaintiffs were in Kansas, so Kansas’ consumer law applies to Plaintiffs’ claims.

          102.   Plaintiffs are residents of Kansas and reside in the state of Kansas.

          103.   All Defendants are residents of Missouri so complete diversity of parties

exists.

          104.   Kansas passed the KCPA to protect Kansas’ “consumers from suppliers

who commit deceptive and unconscionable practices.” K.S.A. 50-623(b).

          105.   Plaintiffs purchased the Vehicle for personal, family and household

purposes and are a consumer as defined by K.S.A. § 50-624(b).

          106.   The Dealership, “in the ordinary course of business, solicits, engages in or

enforces consumer transactions” and is therefore a supplier as defined by K.S.A. § 50-

624(l).

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       107.     Defendant Ms. Yoakum-Kriz enforces consumer transactions in the

ordinary course of her business, so she is a supplier as defined by K.S.A. § 50-624(1).

       108.     K.S.A. § 50-626 declares it unlawful for any supplier to engage in

deceptive acts and practices, which includes “the willful use, in any oral or written

representation, of exaggeration, falsehood, innuendo or ambiguity as to a material fact,”

(K.S.A. § 50-626(2)) and “the willful failure to state a material fact, or the willful

concealment, suppression or omission of a material fact.” (K.S.A. § 50-626(3)).

       109.     “No supplier shall engage in any unconscionable act or practice in

connection with a consumer transaction. An unconscionable act or practice violates this

act whether it occurs before, during or after the transaction.” K.S.A. § 50-627. K.S.A. §

50-627.

       110.     Plaintiffs are poor.

       111.     Defendants knew and/or intended that Missouri State Courts’ permissive

attitude would allow them to raise and pursue a patently frivolous claim when raised as a

counterclaim.

       112.     Defendants took advantage of Plaintiffs inability to obtain an early

dismissal or other resolution of the patently false counterclaim to gain an unconscionable

advantage over Plaintiffs.

       113.     The “price” Defendants allege Plaintiffs owe for “storage fees” grossly

exceeds the value of these “services.”

       114.     Plaintiffs cannot obtain a material benefit from the “storage” of the Vehicle.



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       115.   Defendants asserted the existence of an entirely one-sided agreement for

“storage fees” and failed to take any measures to protect Plaintiffs’ interests.

       116.   Defendants know that Plaintiffs do not owe any amount of money for

“storage fees” to any individual Defendant or collective group of Defendants.

       117.   Even if Plaintiffs did owe storage fees, Defendants could have asserted a

lien, acquired title to the vehicle and resold it to cover these fees. see e.g. Kickham v.

Gardocki, 966 S.W.2d 361 (Mo. Ct. App. 1998).

       118.   A claim for quantum meruit will be barred or reduced if the claiming party

fails to take reasonable steps to mitigate its damages. Tribus, LLC v. Greater Metro, Inc.,

589 S.W.3d 679, 704 (Mo. Ct. App. 2019).

       119.   Even if Plaintiffs had owed storage fees to some person(s), Plaintiffs could

not owe any Defendant more than $1,150.00.

       120.   Defendants’ claim for over $9,000.00 in “storage fees” is patently false.

       121.   All Defendants have actual and/or imputed knowledge that the amount

claimed in the counterclaim is false.

       122.   Because the attempted extortion was performed under a color of rights, the

extortion was a violation of 18 U.S.C. § 1951.

       123.   Because the attempted extortion was also a scheme to defraud and obtain

money or property by false pretenses that Defendants transmitted and/or caused to be

transmitted by means of wired communication in interstate commerce, the acts of

Defendants violated 18 U.S.C. § 1343.



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       124.   Because the acts of Defendants violated federal criminal provisions, they

are per se unfair, unconscionable and fraudulent in violation of the KCPA.

       125.   The acts of Defendants are unfair, unconscionable and fraudulent in

violation of the KCPA.

       126.   K.S.A. § 50-634 gives Kansas consumers a private right of action against

suppliers who violate the KCPA for actual damages or a statutory penalty of up to

$10,000.00.

       127.   K.S.A. § 50-634(e) grants Plaintiffs a claim for reasonable attorneys’ fees

in bringing this action.

       128.   Plaintiffs may also seek punitive damages for violations of the KCPA.

Equitable Life Leasing Corp. v. Abbick, 243 Kan. 513, 757 P.2d 304 (1988).

       129.   As a direct and proximate result of the acts of Defendant complained of

above, Plaintiffs have suffered direct economic damages as measured by the increased

cost of litigation in the State Court Case, which damages continue to accrue and can be

reasonably projected to exceed $75,000.00.

       130.   As a direct and proximate result of the acts of Defendant, Plaintiffs have

suffered emotional damages in an amount to be determined by a jury.

       131.   Defendant is liable to Plaintiffs for an amount that is expected exceed

$75,000.00.

       WHEREFORE, Plaintiffs pray this court enter judgment in their favor, jointly and

severally against the Dealership, Richardson, Harbin, and Ms. Yoakum-Kriz, for:

       a) For actual damages in an amount determined by a jury; or

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      b) For the statutory amount of $10,000.00; and

      c) Punitive damages in an amount determined by a jury; and

      d) Reasonable costs, attorney’s fees as determined by the Court; and

      e) For such other relief as this court finds just and proper

                                              Respectfully submitted,

Dated: December 24, 2021                      THE WILLISTON LAW FIRM, LLC

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